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 6                           IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8                                               )   No. CV-15-00087-PHX-SPL
      Lisa Norton, et al.,
 9                                               )
                                                 )
                        Plaintiffs,              )   ORDER
10                                               )
      vs.
11                                               )
                                                 )
      Joseph M. Arpaio, et al.,                  )
12                                               )
13                      Defendants.              )
                                                 )
14                                               )

15          Having considered Plaintiffs’ Motion for Reconsideration (Doc. 237), the Court will

16   call for a response from Defendants Penzone, Arpaio, Henderson, Gandara, Locksa, and

17   Hechavarria. See LRCiv. 7.2(g)(2) (“No response to a motion for reconsideration and no

18   reply to the response may be filed unless ordered by the Court….”). Accordingly,

19          IT IS ORDERED that Defendants shall have until April 19, 2019 to file a response

20   to Plaintiffs’ Motion for Reconsideration (Doc. 237). No reply shall be permitted unless

21   otherwise ordered by the Court.

22          Dated this 8th day of April, 2019.

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24                                                    Honorable Steven P. Logan
                                                      United States District Judge
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